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moot,

UNITED STATES DISTRICT COURT. fA TG

FOR THE MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION oa
DISNEY ENTERPRISES, INC., DC CIVIL NO.: 6:04-CV-386-ORL-18-JGG
COMICS, HANNA-BARBERA
PRODUCTIONS, INC., PLAYBOY
ENTERPRISES INTERNATIONAL,
INC., VIACOM INTERNATIONAL
INC., and WARNER BROS.
ENTERTAINMENT INC.,

Plaintiffs,

vs.

KMR WHOLESALE, INC., SUNIL
WARRIER, ASHA WARRIER, and
JOHN DOES 1 - 5,

Defendants.

 

PLAINTIFFS’ RESPONSE TO DEFENDANT
KMR WHOLESALE, INC.’S MOTION TO DISMISS
FOR FAILURE TO STATE A CAUSE OF ACTION
Plaintiffs, Disney Enterprises, Inc., DC Comics, Hanna-Barbera
Productions, Inc., Playboy Enterprises International, Inc., Viacom International
Inc. and Warner Bros. Entertainment, Inc., by and through their undersigned

attorneys, hereby respond to Defendant KMR Wholesale, Inc.’s (hereinafter

referred to as “KMR”) Motion to Dismiss for Failure to State a Cause of Action,

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pursuant to Fed. R. Civ. P. 12(h)(2)[sic]!, and respectfully requests this Court to
enter an Order denying this Motion, as the Plaintiffs have stated a cause of
action against KMR upon which relief may be granted as more fully shown by
the following memorandum of law.

Memorandum

The present action concerns the Plaintiffs’ claims that KMR and co-
Defendants Sunhil Warrier and Asha Warrier (hereinafter collectively referred
to as “Warrier”) were engaged in the willful counterfeiting of the Plaintiffs’ well
known copyrighted properties and trademarks. These counterfeiting activities
consisted of the Defendants’ sale, marketing and offering for sale of
unauthorized mobile telephone face plates bearing exact copies of Plaintiffs’
copyrighted properties such as “Mickey Mouse,” “Hello Kitty,” “Scooby-Doo,” and
“SpongeBob Squarepants” as well as trademarks such as “Playboy,” “Looney
Tunes,” and “Batman”.

As a result of this activities, and concurrent with the filing of this action,
the Plaintiffs’ moved for and received a Temporary Restraining Order and Order
of Seizure. Thereafter, on March 27, 2004, a seizure was carried out at
Defendants’ place of business. On March 29, 2004, the Plaintiffs filed with the

Court an inventory of the counterfeit merchandise seized on March 27, 2004,

 

"KMR Wholesale, Inc.’s Motion to Dismiss for Failure to State a Claim is properly brought
pursuant to Fed. R. Civ. P. 12(b)(6). Federal Rule of Civil Procedure 12(h)(2) merely
provides that a 12(b)(6) defense may not be waived.

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which was being offered for sale by the Defendants. On April 4, 2004, a
Preliminary Injunction was entered in this matter against the Defendants.

With this as background KMR has now moved for an order dismissing the
Plaintiffs’ complaint contending that the Plaintiffs have failed to plead a claim
upon which relief might be granted. The timing of this Motion is most odd given
that this Court has already entered a Preliminary Injunction against KMR on
Plaintiffs’ claims after a hearing and the presentation of evidence. Moreover, a
closer look at the Motion shows that it is unsupported by any legal authority in
violation of Local Rule 3.01(a). Given these considerations, Plaintiffs respectfully
suggest that this Court should deny the Motion out of hand as frivolous and a
waste of limited judicial assets.

Alternatively, should this Court wish to review the merits of KMR’s
Motion, Plaintiffs would respectfully show that their complaint does state a
cause of action against KMR. The sole argument made in KMR’s Motion is that
Plaintiffs’ have failed to identify what conduct of KMR infringed the Plaintiffs’
copyrights and trademarks.

A motion to dismiss is only granted “when the movant demonstrates
beyond doubt that the plaintiff can prove no set of facts in support of their claim
which would entitle him to relief.” Spain v. Brown & Williamson Tabacco
Corporation, 2004 U.S. App. LEXIS 5792 (11% Cir., March 29, 2004) (citing

Conley v. Gibson, 355 U.S. 41, 45-46 (1957). Additionally, all of the “complaint’s
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well-pleaded factual allegations” will be accepted as true. LaGrasta v. First
Union Securities, Inc., 358 F.3d 840, 842 (11 Cir., 2004).

The Plaintiffs have alleged four causes of action against the KMR:
copyright infringement (17 U.S.C. §501); trademark infringement (15 U.S.C.
§1114); false designation of origin and false description under the Lanham Act
(15 U.S.C. §1125(a)); unfair competition under Florida’s common law; and
dilution under the Lanham Act (15 U.S.C. §1125(c). To comply with Fed. R. Civ.
P. 8(a)(2), Plaintiffs’ claims merely must “give the defendant fair notice of what
the [P]laintiffs’ claims [are] and give the grounds upon which it rests.”
Swierkiewicz v. Sorema N.A., 534 U.S. 506, 512 (2002).

With respect to Count One, for copyright infringement, Disney
Enterprises, Inc. (Disney), Hanna-Barbera Productions, Inc. (Hanna-Barbera)
and Viacom International, Inc. (Viacom), have alleged that KMR violated their
respective copyrights. To state a claim for copyright infringement a plaintiff
must show (1) ownership of a valid copyright and (2) copying of the protected
work by the alleged infringer.” Feist Publications, Inc. v. Rural Tele. Serv. Co.,
499 U.S. 340, 361 (1991); Palmer v. Braun, 287 F.3d 1825, 1329 (11 Cir. 2002).
Here, Disney, Hanna-Barbera and Viacom have each alleged that they possess
ownership to various valid copyrights. See paragraphs 5, 7 and 9. Additionally,
Disney, Hanna-Barbera and Viacom have specifically identified the copyright

registrations evidencing their copyrighted works that are at issue. See Exhibits
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“A” (index of the applicable copyright registrations) and “B” (copies of the
copyright registrations at issue) to the Complaint.

The second element the Plaintiffs must allege to put KMR on notice
of its copyright infringement claim is the conduct which violated the Plaintiffs’
copyrights. In paragraph 17, Plaintiffs allege that the “Defendants named in
this Complaint has been and threatens to continue to import, distribute, offer for
sale and sell counterfeit merchandise consisting of mobile phone face plates
created through the application of counterfeit decals, as well as related
merchandise, bearing exact copies, or colorable imitations of the Plaintiffs’
distinctive trademarks, licensed trademarks, and copyrighted works.” While
this allegation alone would have fairly stated a claim against the Defendants,
the Plaintiffs have gone to the added effort of attaching photocopies of the
infringing mobile phone face plates to Complaint as part of Exhibit “E”. Finally,
each of the Plaintiffs have attached a sworn corporate declaration that the
infringing mobile phone face plates were unauthorized and that the Plaintiffs
had never authorized the Defendants to “reproduce, manufacture, import, copy
or sell any mobile face plates bearing decals, or any related merchandise”
bearing the Plaintiffs’ trademarks, licensed trademarks, and copyrights. See

Exhibit “D” to the Complaint.?

 

* This same paragraph also alleges that the infringing face plates bearing their
trademarks, licensed trademark and copyrighted would be referred to in the
remainder of the Complaint as the “Infringing Merchandise”.

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There is no ambiguity on the face of these pleadings. The allegations as
they stand clearly put the Defendants on notice of the Plaintiffs’ claim for
copyright infringement.

The Plaintiffs’ Count Two is for trademark infringement under the
Lanham Act. To allege a claim for trademark infringement, a plaintiff must
contend that their marks were used in commerce by the defendants without
their consent and that the unauthorized use was likely to cause confusion, or to
cause mistake or to deceive. Nitro Leisure Products, LLC v. Acushnet Company,
341 F.3d 1356, 1359 (11th Cir. 2003); see also Burger King Corporation v. Mason,
710 F.2d 1480, 1491 (11th Cir. 1983). Additionally, the Plaintiffs must possess
valid Federal trademark registration to the applicable trademarks. Here the
Plaintiffs have alleged that they possess exclusive rights to their respective
trademarks. See paragraphs 5 through 10, 15 and 28. The Plaintiffs have
further identified the applicable Federal trademark registrations at issue in this
matter by indexing them as Exhibit “A” and attaching copies in Exhibit “C” to
the complaint. These registrations are prima facie evidence that Plaintiffs have
the right to use such marks in commerce. 15 U.S.C. § 1057(a), §1115¢a).

The next element the Plaintiffs must allege is that KMR was utilizing the
trademarks without authorization, and that this use caused deception or
mistake. The Plaintiffs have done this in paragraphs 31 wherein they allege

that
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Defendants imported, manufactured, distributed, sold,
and offered for sale Infringing Merchandise bearing
the Plaintiffs' trademarks without the authorization of
the Plaintiffs and continue to offer for sale such
products to the public. Defendants sold or offered for
sale Infringing Merchandise, and related merchandise
bearing the Plaintiffs’ trademarks in the Middle
District of Florida and interstate commerce, thus
creating the likelihood of confusion, deception, and
mistake.

In paragraph 32, the Plaintiffs go on to allege that
Each Defendant, individually or in conspiracy with the
other named Defendants, have imported,
manufactured, distributed, sold, or offered for sale
counterfeit or unauthorized Infringing Merchandise
bearing the Plaintiffs’ distinctive trademarks.
Defendants’ acts were done with actual and
constructive knowledge of the Plaintiffs' exclusive
rights, and have contributed to the infringing, copying,
duplication, sale, and offer for sale of counterfeit copies
of merchandise bearing the Plaintiffs’ distinctive
trademarks.
Again, each of the Plaintiffs have also provided a sworn declaration that the
mobile phone face plates sold and offered for sale by KMR were unauthorized
and infringing. See Exhibit “D”. Accordingly, the Plaintiffs have stated a cause
of action for trademark infringement.
Plaintiffs’ Counts Three and Four are for unfair competition under the
Lanham Act and under Florida’s common law, respectively. The allegations

necessary to state a cause of action against KMR for unfair competition are

essentially the same as those for making out a trademark infringement action.
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Porsche Cars North America, Inc. v. Lloyd Design Corp., 2002 U.S. Dist. LEXIS
9612 (N.D. Ga., 2002), and Portionpac Chemical Corporation v. Sanitech
Systems, Inc., 217 F. Supp. 2d 1238, 1253 (M.D. Fla., 2002). The Plaintiffs must
allege that KMR used the Plaintiffs’ marks without authorization causing
deception or mistake in the market place. The only material difference from a
trademark infringement claim under 15 U.S.C. § 1114, is that the Plaintiffs to do
not need to plead that they possess a Federal trademark registration to the
applicable trademarks. Id.
In Count Three, paragraph 40, Plaintiffs have alleged that:

The unauthorized manufacture of Infringing
Merchandise, which have been distributed and sold by
the Defendants, exactly duplicate and appropriate the
likeness of the Plaintiffs' copyrighted, trademarks and
licensed trademarks in order to delude and confuse the
public into believing that the Infringing Merchandise
have been authorized and/or sponsored by the
Plaintiffs.

Further, in paragraph 43, Plaintiffs’ aver:

Defendants, by misappropriating and using the
likenesses of the Plaintiffs' copyrighted properties,
trademarks and licensed trademarks, in connection
with the sale of Infringing Merchandise, are
misrepresenting and will continue to misrepresent and
falsely describe to the general public the origin and
sponsorship of their products. Defendants have caused
such products to enter into interstate commerce with
full knowledge of the falsity of the designation of their
origin and description and representation in an effort
to mislead the purchasing public into believing that

their products are authorized or emanate from the
Plaintiffs.
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In Count Four, paragraph 48, the Plaintiffs have incorporated the
allegations in paragraphs 40 and 43, into their claim for unfair competition
under Florida’s common law. The Plaintiffs go on to allege in Count Four,
paragraph 50, that “[t]he Defendants are utilizing the Plaintiffs’ trademarked
and copyrighted properties in conjunction with the advertising, marketing, and
offering for sale of the Infringing Merchandise, thereby passing it off as goods
authorized or distributed by Plaintiffs.”

These allegations state a cause of action against KMR for unfair
competition under the Lanham Act and Florida’s common law.

Conclusion

Based on the foregoing, Plaintiffs’ respectfully request this Court to enter
an Order denying KMR’s Motion in all respects, and moreover, requiring KMR to
file an Answer within the next twenty (20) days.

Dated this w= day of May, 2004.

 

Respectfully submitted,

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Michael W.O. Holihan
Florida Bar No: 782165
Michael W.O. Holihan, P.A.
1101 North Lake Destiny Road
Suite 350
Maitland FL 32751
Telephone: (407) 660-8575
Facsimile: (407) 660-0510
Mobile: (407) 963-5885
Attorneys for Plaintiffs
